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                      UNITED STATES DISTRICT COURT

                          DISTRICT OF NEW JERSEY


VICTORIA LEMPINEN, on behalf of
herself individually and on behalf of all
others similarly situated,                      Case No.: ____________

         Plaintiff,                             CLASS ACTION COMPLAINT

    v.                                          JURY DEMAND

HEALTHEC, LLC,

         Defendant.




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                         CLASS ACTION COMPLAINT

      Plaintiff Victoria Lempinen (“Plaintiff”) brings this Class Action Complaint

(“Complaint”) against Defendant HealthEC, LLC (“HealthEC” or “Defendant”) as

an individual and on behalf of all others similarly situated, and alleges, upon

personal knowledge as to her own actions and her counsels’ investigation, and upon

information and belief as to all other matters, as follows:

                           NATURE OF THE ACTION

         1.   This class action arises out of the recent cyberattack and data breach

(“Data Breach”) resulting from HealthEC's failure to implement reasonable and

industry standard data security practices.

         2.   Defendant is a limited liability company that provides “fully integrated

analytics and insights” and other services to its healthcare provider clients.1

         3.   Plaintiff brings this Complaint against Defendant for its failure to

properly secure and safeguard the sensitive information that it collected and

maintained as part of its regular business practices, including, but not limited to

names, dates of birth, ("personally identifying information" or “PII”) and medical

treatment information, which is protected health information (“PHI”, and

collectively with PII, “Private Information”) as defined by the Health Insurance

Portability and Accountability Act of 1996 (“HIPAA”).


1
    https://www.healthec.com/

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         4.   Upon information and belief, former and current patients at HealthEC’s

clients are required to entrust Defendant with sensitive, non-public Private

Information, without which Defendant could not perform its regular business

activities, in order to obtain medical services from Defendant’s clients. Defendant

retains this information for at least many years and even after the patient-physician

relationship has ended.

         5.   By obtaining, collecting, using, and deriving a benefit from the Private

Information of Plaintiff and Class Members, Defendant assumed legal and equitable

duties to those individuals to protect and safeguard that information from

unauthorized access and intrusion.

         6.   According to the untitled letter that Defendant sent to Plaintiff and other

impacted Class Members (the "Notice Letter"), on an undisclosed date, Defendant

“became aware of suspicious activity potentially involving [its] network[.]”2 In

response, Defendant “promptly began an investigation.”3 As a result of its

investigation, Defendant concluded—on an undisclosed date—that “certain systems

were accessed by an unknown actor between July 14, 2023, and July 23, 2023, and

during this time certain files were copied.”4


2
      The    “Notice    Letter”.   A    sample    copy    is   available  at
https://apps.web.maine.gov/online/aeviewer/ME/40/4680936e-e496-43ed-a35d-
59ece9b523b6.shtml
3
  Id.
4
  Id.

                                            3
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         7.    Defendant's investigation concluded that the Private Information

compromised in the Data Breach included Plaintiff’s and approximately 112,000

other individuals’ information.5

         8.    Defendant failed to adequately protect Plaintiff’s and Class Members’

Private Information––and failed to even encrypt or redact this highly sensitive

information. This unencrypted, unredacted Private Information was compromised

due to Defendant's negligent and/or careless acts and omissions and their utter failure

to protect its clients’ patients’ sensitive data. Hackers targeted and obtained Plaintiff's

and Class Members’ Private Information because of its value in exploiting and

stealing the identities of Plaintiff and Class Members. The present and continuing

risk to victims of the Data Breach will remain for their respective lifetimes.

         9.    In breaching their duties to properly safeguard its clients’ patients’

Private Information and give patients timely, adequate notice of the Data Breach’s

occurrence, Defendant's conduct amounts to negligence and/or recklessness and

violates federal and state statutes.

         10.   Plaintiff brings this action on behalf of all persons whose Private

Information was compromised as a result of Defendant's failure to: (i) adequately

protect the Private Information of Plaintiff and Class Members; (ii) warn Plaintiff



5
   https://apps.web.maine.gov/online/aeviewer/ME/40/4680936e-e496-43ed-a35d-
59ece9b523b6.shtml

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and Class Members of Defendant's inadequate information security practices; and

(iii) effectively secure hardware containing protected Private Information using

reasonable and effective security procedures free of vulnerabilities and incidents.

Defendant's conduct amounts at least to negligence and violates federal and state

statutes.

       11.   Defendant disregarded the rights of Plaintiff and Class Members by

intentionally, willfully, recklessly, or negligently failing to implement and maintain

adequate and reasonable measures to ensure that the Private Information of Plaintiff

and Class Members was safeguarded, failing to take available steps to prevent an

unauthorized disclosure of data, and failing to follow applicable, required, and

appropriate protocols, policies, and procedures regarding the encryption of data,

even for internal use. As a result, the Private Information of Plaintiff and Class

Members was compromised through disclosure to an unknown and unauthorized

third party. Plaintiff and Class Members have a continuing interest in ensuring that

their information is and remains safe, and they should be entitled to injunctive and

other equitable relief.

       12.   Plaintiff and Class Members have suffered injuries as a result of

Defendant's conduct. These injuries include: (i) invasion of privacy; (ii) theft of their

Private Information; (iii) lost or diminished value of Private Information; (iv) lost

time and opportunity costs associated with attempting to mitigate the actual



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consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

opportunity costs associated with attempting to mitigate the actual consequences of

the Data Breach; (vii) experiencing an increase in spam calls, texts, and/or emails;

(viii) statutory damages; (ix) nominal damages; and (x) the continued and certainly

increased risk to their Private Information, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed

up in Defendant’s possession and is subject to further unauthorized disclosures so

long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information.

      13.     Plaintiff seeks to remedy these harms and prevent any future data

compromise on behalf of herself and all similarly situated persons whose personal

data was compromised and stolen as a result of the Data Breach and who remain at

risk due to Defendant's inadequate data security practices.

                                     PARTIES

      14.     Plaintiff Victoria Lempinen is and has been, at all relevant times, a

resident and citizen of Saint Clair Shores, Michigan. Plaintiff received the Notice

Letter, via U.S. mail, directly from Defendant, dated December 22, 2023.

      15.     Defendant HealthEC, LLC is a limited liability company formed under

the state laws of Delaware, with its principal place of business located in Edison,

New Jersey.



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                           JURISDICTION AND VENUE

         16.   This Court has subject matter jurisdiction pursuant to the Class Action

Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount in controversy

exceeds the sum of $5,000,000 exclusive of interest and costs, there are more than

100 putative class members, and minimal diversity exists because many putative

class members, including Plaintiff, are citizens of a different state than Defendant.

This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a)

because all claims alleged herein form part of the same case or controversy.

         17.   This Court has personal jurisdiction over Defendant because it operates

and maintains its principal place of business in this District.

         18.   Venue is proper in this District under 28 U.S.C. § 1391(a) through (d)

because Defendant’s principal place of business is located in this district; Defendant

maintains Class Members’ Private Information in this District; and Defendant

caused harm to Class Members residing in this District.

                              STATEMENT OF FACTS

         Defendant's Business

         19.   Defendant is a limited liability company that provides “fully integrated

analytics and insights” and other services to its healthcare provider clients.6




6
    https://www.healthec.com/

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         20.   In order to obtain medical services from Defendant’s clients, Defendant

requires its clients’ patients to provide sensitive and confidential Private

Information, including their names, dates of birth, PHI, and other sensitive

information.

         21.   The information held by Defendant in its computer systems included

the unencrypted Private Information of Plaintiff and Class Members.

         22.   Upon information and belief, Defendant made promises and

representations to its clients’ patients that the Private Information collected from

them as a condition of obtaining medical services at Defendant’s clients would be

kept safe, confidential, that the privacy of that information would be maintained, and

that Defendant would delete any sensitive information after it was no longer required

to maintain it.

         23.   Indeed, Defendant provides on its website that: “HealthEC has

implemented generally accepted standards of technology and operational security in

order to protect Personal Info from loss, misuse, alteration, or destruction. Only

authorized HealthEC personnel are provided access to Personal Info, and these

employees are required to treat this information as confidential.”7

         24.   Plaintiff and Class Members provided their Private Information to

Defendant with the reasonable expectation and mutual understanding that Defendant


7
    https://mneconnect.healthec.com/ProdMNeConnectAdmin/Privacy_Policy.aspx

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would comply with its obligations to keep such information confidential and secure

from unauthorized access.

      25.    Plaintiff and the Class Members have taken reasonable steps to

maintain the confidentiality of their Private Information. Plaintiff and Class

Members relied on the sophistication of Defendant to keep their Private Information

confidential and securely maintained, to use this information for necessary purposes

only, and to make only authorized disclosures of this information. Plaintiff and Class

Members value the confidentiality of their Private Information and demand security

to safeguard their Private Information.

      26.    Defendant had a duty to adopt reasonable measures to protect the

Private Information of Plaintiff and Class Members from involuntary disclosure to

third parties. Defendant has a legal duty to keep its clients’ patients’ Private

Information safe and confidential.

      27.    Defendant had obligations created by the FTC Act, HIPAA, contract,

and industry standards, to keep its clients’ patients’ Private Information confidential

and to protect it from unauthorized access and disclosure.

      28.    Defendant derived a substantial economic benefit from collecting

Plaintiff's and Class Members’ Private Information. Without the required

submission of Private Information, Defendant could not perform the services it

provides.



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         29.   By obtaining, collecting, using, and deriving a benefit from Plaintiff's

and Class Members’ Private Information, Defendant assumed legal and equitable

duties and knew or should have known that it was responsible for protecting

Plaintiff's and Class Members’ Private Information from disclosure.

         The Data Breach

         30.   On or about December 22, 2023, Defendant began sending Plaintiff and

other victims of the Data Breach an untitled letter (the "Notice Letter"), informing

them, in relevant part, that:

         What Happened? HealthEC became aware of suspicious activity potentially
         involving our network and promptly began an investigation. The investigation
         determined that certain systems were accessed by an unknown actor between
         July 14, 2023, and July 23, 2023, and during this time certain files were
         copied. We then undertook a thorough review of the files in order to identify
         what specific information was present in the files and to whom it relates. This
         review identified information relating to some of our clients. We began
         notifying our clients on October 26, 2023, and we worked with them to notify
         potentially impacted individuals, including you. The organization on whose
         behalf HealthEC is providing your notice is Beaumont ACO.

         What Information Was Involved? Your name and Date of birth, Medical
         Information And Billing Or Claims Information were present in the impacted
         files.8

         31.   Omitted from the Notice Letter were the date that Defendant detected

the Data Breach, the dates of Defendant’s investigation, the details of the root cause

of the Data Breach, the vulnerabilities exploited, and the remedial measures



8
    Notice Letter.

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undertaken to ensure such a breach does not occur again. To date, these critical facts

have not been explained or clarified to Plaintiff and Class Members, who retain a

vested interest in ensuring that their Private Information remains protected.

      32.    This “disclosure” amounts to no real disclosure at all, as it fails to

inform, with any degree of specificity, Plaintiff and Class Members of the Data

Breach’s critical facts. Without these details, Plaintiff's and Class Members’ ability

to mitigate the harms resulting from the Data Breach is severely diminished.

      33.    Defendant did not use reasonable security procedures and practices

appropriate to the nature of the sensitive information it was maintaining for Plaintiff

and Class Members, causing the exposure of Private Information, such as encrypting

the information or deleting it when it is no longer needed.

      34.    The attacker accessed and acquired files in Defendant's computer

systems containing unencrypted Private Information of Plaintiff and Class Members,

including their names, dates of birth, PHI, and other sensitive information. Plaintiff's

and Class Members’ Private Information was accessed and stolen in the Data

Breach.

      35.    Plaintiff further believes that her Private Information and that of Class

Members was or will be sold on the dark web, as that is the modus operandi of

cybercriminals that commit cyber-attacks of this type.

      Data Breaches Are Preventable



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      36.      As explained by the Federal Bureau of Investigation, “[p]revention is

the most effective defense against ransomware and it is critical to take precautions

for protection.”9

      37.      To prevent and detect cyber-attacks and/or ransomware attacks

Defendant could and should have implemented, as recommended by the United

States Government, the following measures:

            ● Implement an awareness and training program. Because end users are
              targets, employees and individuals should be aware of the threat of
              ransomware and how it is delivered.

            ● Enable strong spam filters to prevent phishing emails from reaching the
              end users and authenticate inbound email using technologies like
              Sender Policy Framework (SPF), Domain Message Authentication
              Reporting and Conformance (DMARC), and DomainKeys Identified
              Mail (DKIM) to prevent email spoofing.

            ● Scan all incoming and outgoing emails to detect threats and filter
              executable files from reaching end users.

            ● Configure firewalls to block access to known malicious IP addresses.

            ● Patch operating systems, software, and firmware on devices. Consider
              using a centralized patch management system.

            ● Set anti-virus and anti-malware programs to conduct regular scans
              automatically.

            ● Manage the use of privileged accounts based on the principle of least
              privilege: no users should be assigned administrative access unless

9
  See How to Protect Your Networks from RANSOMWARE, at 3, available at
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-
cisos.pdf/view

                                          12
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                   absolutely needed; and those with a need for administrator accounts
                   should only use them when necessary.

             ● Configure access controls—including file, directory, and network share
               permissions—with least privilege in mind. If a user only needs to read
               specific files, the user should not have write access to those files,
               directories, or shares.

             ● Disable macro scripts from office files transmitted via email. Consider
               using Office Viewer software to open Microsoft Office files transmitted
               via email instead of full office suite applications.

             ● Implement Software Restriction Policies (SRP) or other controls to
               prevent programs from executing from common ransomware locations,
               such as temporary folders supporting popular Internet browsers or
               compression/decompression         programs,    including       the
               AppData/LocalAppData folder.

             ● Consider disabling Remote Desktop protocol (RDP) if it is not being
               used.

             ● Use application whitelisting, which only allows systems to execute
               programs known and permitted by security policy.

             ● Execute operating system environments or specific programs in a
               virtualized environment.

             ● Categorize data based on organizational value and implement physical
               and logical separation of networks and data for different organizational
               units.10




10
     Id. at 3-4.

                                             13
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      38.   To prevent and detect cyber-attacks or ransomware attacks Defendant

could and should have implemented, as recommended by the Microsoft Threat

Protection Intelligence Team, the following measures:

            Secure internet-facing assets

            -     Apply latest security updates
            -     Use threat and vulnerability management
            -     Perform regular audit; remove privileged credentials;

            Thoroughly investigate and remediate alerts

            -     Prioritize and treat commodity malware infections as potential
                  full compromise;

            Include IT Pros in security discussions

            -     Ensure collaboration among [security operations], [security
                  admins], and [information technology] admins to configure
                  servers and other endpoints securely;

            Build credential hygiene

            -     Use [multifactor authentication] or [network level
                  authentication] and use strong, randomized, just-in-time local
                  admin passwords;

            Apply principle of least-privilege

            -     Monitor for adversarial activities
            -     Hunt for brute force attempts
            -     Monitor for cleanup of Event Logs
            -     Analyze logon events;

            Harden infrastructure

            -     Use Windows Defender Firewall
            -     Enable tamper protection


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             -      Enable cloud-delivered protection
             -      Turn on attack surface reduction rules and [Antimalware Scan
                    Interface] for Office[Visual Basic for Applications].11

      39.    Given that Defendant was storing the sensitive Private Information of

its clients’ current and former patients, Defendant could and should have

implemented all of the above measures to prevent and detect cyberattacks.

      40.    The occurrence of the Data Breach indicates that Defendant failed to

adequately implement one or more of the above measures to prevent cyberattacks,

resulting in the Data Breach and the exposure of the Private Information of over one

hundred thousand individuals, including that of Plaintiff and Class Members.

      Defendant Acquires, Collects, & Stores Patients’ Private Information

      41.    As a condition to obtain medical services from Defendant’s clients,

Defendant requires its clients’ patients to give their sensitive and confidential Private

Information to Defendant.

      42.    Defendant retains and store this information and derive a substantial

economic benefit from the Private Information that they collect. But for the

collection of Plaintiff's and Class Members’ Private Information, Defendant would

be unable to perform its services.




11
  See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020),
available     at:   https://www.microsoft.com/security/blog/2020/03/05/human-
operated-ransomware-attacks-a-preventable-disaster/

                                           15
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        43.   By obtaining, collecting, and storing the Private Information of Plaintiff

and Class Members, Defendant assumed legal and equitable duties and knew or

should have known that they were responsible for protecting the Private Information

from disclosure.

        44.   Plaintiff and Class Members have taken reasonable steps to maintain

the confidentiality of their Private Information and relied on Defendant to keep their

Private Information confidential and maintained securely, to use this information for

business purposes only, and to make only authorized disclosures of this information.

        45.   Defendant could have prevented this Data Breach by properly securing

and encrypting the files and file servers containing the Private Information of

Plaintiff and Class Members.

        46.   Upon information and belief, Defendant made promises to its clients’

patients to maintain and protect their Private Information, demonstrating an

understanding of the importance of securing Private Information.

        47.   Indeed, Defendant provides on its website that: “HealthEC has

implemented generally accepted standards of technology and operational security in

order to protect Personal Info from loss, misuse, alteration, or destruction. Only

authorized HealthEC personnel are provided access to Personal Info, and these

employees are required to treat this information as confidential.”12


12
     https://mneconnect.healthec.com/ProdMNeConnectAdmin/Privacy_Policy.aspx

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         48.   Defendant's negligence in safeguarding the Private Information of

Plaintiff and Class Members is exacerbated by the repeated warnings and alerts

directed to protecting and securing sensitive data.

         Defendant Knew, Or Should Have Known, Of The Risk Because Healthcare
         Companies In Possession Of Private Information Are Particularly
         Susceptible To Cyber Attacks

         49.   Data thieves regularly target companies like Defendant's due to the

highly sensitive information that they custody. Defendant knew and understood that

unprotected Private Information is valuable and highly sought after by criminal

parties who seek to illegally monetize that Private Information through unauthorized

access.

         50.   Defendant's data security obligations were particularly important given

the substantial increase in cyber-attacks and/or data breaches targeting healthcare

companies that collect and store Private Information and other sensitive information,

like Defendant, preceding the date of the breach.

         51.   In the third quarter of the 2023 fiscal year alone, 7333 organizations

experienced data breaches, resulting in 66,658,764 individuals’ personal information

being compromised.13

         52.   In light of recent high profile cybersecurity incidents at other healthcare

partner and provider companies, including American Medical Collection Agency


13
     See https://www.idtheftcenter.org/publication/q3-data-breach-2023-analysis/

                                            17
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(25 million patients, March 2019), University of Washington Medicine (974,000

patients, December 2018), Florida Orthopedic Institute (640,000 patients, July

2020), Wolverine Solutions Group (600,000 patients, September 2018), Oregon

Department of Human Services (645,000 patients, March 2019), Elite Emergency

Physicians (550,000 patients, June 2020), Magellan Health (365,000 patients, April

2020), and BJC Health System (286,876 patients, March 2020), Defendant knew or

should have known that its electronic records would be targeted by cybercriminals.

      53.    Indeed, cyber-attacks, such as the one experienced by Defendant, have

become so notorious that the Federal Bureau of Investigation (“FBI”) and U.S.

Secret Service have issued a warning to potential targets so they are aware of, and

prepared for, a potential attack. As one report explained, smaller entities that store

Private Information are “attractive to ransomware criminals…because they often

have lesser IT defenses and a high incentive to regain access to their data quickly.”14

      54.    Additionally, as companies became more dependent on computer

systems to run their business,15 e.g., working remotely as a result of the Covid-19

pandemic, and the Internet of Things (“IoT”), the danger posed by cybercriminals is



14
   https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-
warn-of-targeted-ransomware?nl_pk=3ed44a08-fcc2-4b6c-89f0-
aa0155a8bb51&utm_source=newsletter&utm_medium=email&utm_campaign=co
nsumerprotection
15
   https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-
risk-for-financial-stability-20220512.html

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magnified, thereby highlighting the need for adequate administrative, physical, and

technical safeguards.16

      55.    Despite the prevalence of public announcements of data breach and

data security compromises, Defendant failed to take appropriate steps to protect the

Private Information of Plaintiff and Class Members from being compromised.

      56.    As a custodian of Private Information, Defendant knew, or should have

known, the importance of safeguarding the Private Information entrusted to it by

Plaintiff and Class members, and of the foreseeable consequences if its data security

systems were breached, including the significant costs imposed on Plaintiff and

Class Members as a result of a breach.

      57.    At all relevant times, Defendant knew, or reasonably should have

known, of the importance of safeguarding the Private Information of Plaintiff and

Class Members and of the foreseeable consequences that would occur if Defendant's

data security system was breached, including, specifically, the significant costs that

would be imposed on Plaintiff and Class Members as a result of a breach.

      58.    Defendant was, or should have been, fully aware of the unique type and

the significant volume of data on Defendant's server(s), amounting to potentially

over one hundred thousand individuals’ detailed, Private Information, and, thus, the



16
       https://www.picussecurity.com/key-threats-and-cyber-risks-facing-financial-
services-and-banking-firms-in-2022

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significant number of individuals who would be harmed by the exposure of the

unencrypted data.

      59.   The injuries to Plaintiff and Class Members were directly and

proximately caused by Defendant's failure to implement or maintain adequate data

security measures for the Private Information of Plaintiff and Class Members.

      60.   The ramifications of Defendant's failure to keep secure the Private

Information of Plaintiff and Class Members are long lasting and severe. Once Private

Information is stolen––particularly PHI––fraudulent use of that information and

damage to victims may continue for years.

      61.   As a healthcare company in possession of its clients’ patients’ Private

Information, Defendant knew, or should have known, the importance of

safeguarding the Private Information entrusted to them by Plaintiff and Class

Members and of the foreseeable consequences if its data security systems were

breached. This includes the significant costs imposed on Plaintiff and Class

Members as a result of a breach. Nevertheless, Defendant failed to take adequate

cybersecurity measures to prevent the Data Breach.

      Value of Private Information

      62.   The Federal Trade Commission (“FTC”) defines identity theft as “a

fraud committed or attempted using the identifying information of another person




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without authority.”17 The FTC describes “identifying information” as “any name or

number that may be used, alone or in conjunction with any other information, to

identify a specific person,” including, among other things, “[n]ame, Social Security

number, date of birth, official State or government issued driver’s license or

identification number, alien registration number, government passport number,

employer or taxpayer identification number.”18

      63.    The PII of individuals remains of high value to criminals, as evidenced

by the prices they will pay through the dark web. Numerous sources cite dark web

pricing for stolen identity credentials.19

      64.    For example, Personal Information can be sold at a price ranging from

$40 to $200.20 Criminals can also purchase access to entire company data breaches

from $900 to $4,500.21




17
   17 C.F.R. § 248.201 (2013).
18
   Id.
19
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital
Trends,            Oct.          16,          2019,          available           at:
https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-
how-much-it-costs/
20
   Here’s How Much Your Personal Information Is Selling for on the Dark Web,
Experian, Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-
experian/heres-how-much-your-personal-information-is-selling-for-on-the-dark-
web/
21
        In     the      Dark,      VPNOverview,        2019,      available      at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/

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        65.    Theft of PHI is also gravely serious: “[a] thief may use your name or

health insurance numbers to see a doctor, get prescription drugs, file claims with

your insurance provider, or get other care. If the thief’s health information is mixed

with yours, your treatment, insurance and payment records, and credit report may be

affected.”22

        66.    The greater efficiency of electronic health records brings the risk of

privacy breaches. These electronic health records contain a lot of sensitive

information (e.g., patient data, patient diagnosis, lab results, medications,

prescriptions, treatment plans, etc.) that is valuable to cybercriminals. One patient’s

complete record can be sold for hundreds of dollars on the dark web. As such, Private

Information is a valuable commodity for which a “cyber black market” exists where

criminals openly post stolen payment card numbers, Social Security numbers, and

other    personal    information   on   several   underground     internet   websites.

Unsurprisingly, the pharmaceutical industry is at high risk and is acutely affected by

cyberattacks, like the Data Breach here.

        67.    Between 2005 and 2019, at least 249 million people were affected by

healthcare data breaches.23 Indeed, during 2019 alone, over 41 million healthcare


22
               Medical           I.D.          Theft,        EFraudPrevention
https://efraudprevention.net/home/education/?a=187#:~:text=A%20thief%20may%
20use%20your,credit%20report%20may%20be%20affected.
23
       https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7349636/#B5-healthcare-08-
00133/

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records were exposed, stolen, or unlawfully disclosed in 505 data breaches.24 In

short, these sorts of data breaches are increasingly common, especially among

healthcare systems, which account for 30.03 percent of overall health data breaches,

according to cybersecurity firm Tenable.25

      68.    According to account monitoring company LogDog, medical data sells

for $50 and up on the Dark Web.26

      69.    “Medical identity theft is a growing and dangerous crime that leaves its

victims with little to no recourse for recovery,” reported Pam Dixon, executive

director of World Privacy Forum. “Victims often experience financial repercussions

and worse yet, they frequently discover erroneous information has been added to

their personal medical files due to the thief’s activities.”27

      70.    A study by Experian found that the average cost of medical identity

theft is “about $20,000” per incident and that most victims of medical identity theft

were forced to pay out-of-pocket costs for healthcare they did not receive to restore




24
   https://www.hipaajournal.com/december-2019-healthcare-data-breach-report/
25
            https://www.tenable.com/blog/healthcare-security-ransomware-plays-a-
prominent-role-incovid-19-era-breaches/
26
    Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals,
Naked                Security             (Oct.               3,              2019),
https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-
sometimes-crush-hospitals/#content
27
   Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health
News, Feb. 7, 2014, https://khn.org/news/rise-of-indentity-theft/

                                           23
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coverage.28 Almost half of medical identity theft victims lose their healthcare

coverage as a result of the incident, while nearly one-third of medical identity theft

victims saw their insurance premiums rise, and 40 percent were never able to resolve

their identity theft at all.29

       71.    Based on the foregoing, the information compromised in the Data

Breach is significantly more valuable than the loss of, for example, credit card

information in a retailer data breach because, there, victims can cancel or close credit

and debit card accounts. The information compromised in this Data Breach is

impossible to “close” and difficult, if not impossible, to change—names, dates of

birth, and PHI.

       72.    This data demands a much higher price on the black market. Martin

Walter, senior director at cybersecurity firm RedSeal, explained, “Compared to

credit card information, personally identifiable information . . . [is] worth more than

10x on the black market.”30



28
   See Elinor Mills, “Study: Medical Identity Theft is Costly for Victims,” CNET
(Mar, 3, 2010), https://www.cnet.com/news/study-medical-identity-theft-is-costly-
for-victims/
29
   Id.; see also Healthcare Data Breach: What to Know About them and What to Do
After One, EXPERIAN, https://www.experian.com/blogs/ask-experian/healthcare-
data-breach-what-toknow-about-them-and-what-to-do-after-one/
30
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
Credit Card Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-
stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html

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      73.    Among other forms of fraud, identity thieves may obtain driver’s

licenses, government benefits, medical services, and housing or even give false

information to police.

      74.    The fraudulent activity resulting from the Data Breach may not come

to light for years. There may be a time lag between when harm occurs versus when

it is discovered, and also between when Private Information is stolen and when it is

used. According to the U.S. Government Accountability Office (“GAO”), which

conducted a study regarding data breaches:

      [L]aw enforcement officials told us that in some cases, stolen data may
      be held for up to a year or more before being used to commit identity
      theft. Further, once stolen data have been sold or posted on the Web,
      fraudulent use of that information may continue for years. As a result,
      studies that attempt to measure the harm resulting from data breaches
      cannot necessarily rule out all future harm.31

      75.    Plaintiff and Class Members now face years of constant surveillance of

their financial and personal records, monitoring, and loss of rights. The Class is

incurring and will continue to incur such damages in addition to any fraudulent use

of their Private Information.

      Defendant Fails To Comply With FTC Guidelines




31
   Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf

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      76.    The Federal Trade Commission (“FTC”) has promulgated numerous

guides for businesses which highlight the importance of implementing reasonable

data security practices. According to the FTC, the need for data security should be

factored into all business decision-making.

      77.    In 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cyber-security guidelines for

businesses. These guidelines note that businesses should protect the personal patient

information that they keep; properly dispose of personal information that is no longer

needed; encrypt information stored on computer networks; understand their

network’s vulnerabilities; and implement policies to correct any security problems.32

      78.    The guidelines also recommend that businesses use an intrusion

detection system to expose a breach as soon as it occurs; monitor all incoming traffic

for activity indicating someone is attempting to hack the system; watch for large

amounts of data being transmitted from the system; and have a response plan ready

in the event of a breach.33

      79.    The FTC further recommends that companies not maintain Private

Information longer than is needed for authorization of a transaction; limit access to



32
    Protecting Personal Information: A Guide for Business, Federal Trade
Commission (2016). Available at https://www.ftc.gov/system/files/documents/plain-
language/pdf-0136_proteting-personal-information.pdf
33
   Id.

                                         26
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sensitive data; require complex passwords to be used on networks; use industry-

tested methods for security; monitor for suspicious activity on the network; and

verify that third-party service providers have implemented reasonable security

measures.

      80.     The FTC has brought enforcement actions against businesses for failing

to adequately and reasonably protect patient data, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to

confidential patient data as an unfair act or practice prohibited by Section 5 of the

Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from

these actions further clarify the measures businesses must take to meet their data

security obligations.

      81.     These FTC enforcement actions include actions against healthcare

companies, like Defendant. See, e.g., In the Matter of LabMD, Inc., a corp, 2016-2

Trade Cas. (CCH) ¶ 79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016)

(“[T]he Commission concludes that LabMD’s data security practices were

unreasonable and constitute an unfair act or practice in violation of Section 5 of the

FTC Act.”).

      82.     Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices

in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair act or practice by businesses, such as Defendant, of failing to use reasonable



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measures to protect Private Information. The FTC publications and orders described

above also form part of the basis of Defendant’s duty in this regard.

      83.    Defendant failed to properly implement basic data security practices.

      84.    Defendant’s failure to employ reasonable and appropriate measures to

protect against unauthorized access to its clients’ patients’ Private Information or to

comply with applicable industry standards constitutes an unfair act or practice

prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

      85.    Upon information and belief, Defendant was at all times fully aware of

its obligation to protect the Private Information of its clients’ patients, Defendant

was also aware of the significant repercussions that would result from its failure to

do so. Accordingly, Defendant’s conduct was particularly unreasonable given the

nature and amount of Private Information it obtained and stored and the foreseeable

consequences of the immense damages that would result to Plaintiff and the Class.

      Defendant Fails To Comply With HIPAA Guidelines

      86.    Defendant is a covered business associate under HIPAA (45 C.F.R. §

160.102) and is required to comply with the HIPAA Privacy Rule and Security Rule,

45 C.F.R. Part 160 and Part 164, Subparts A and E (“Standards for Privacy of

Individually Identifiable Health Information”), and Security Rule (“Security

Standards for the Protection of Electronic Protected Health Information”), 45 C.F.R.

Part 160 and Part 164, Subparts A and C.



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        87.   Defendant is subject to the rules and regulations for safeguarding

electronic forms of medical information pursuant to the Health Information

Technology Act (“HITECH”).34 See 42 U.S.C. §17921, 45 C.F.R. § 160.103.

        88.   HIPAA’s Privacy Rule or Standards for Privacy of Individually

Identifiable Health Information establishes national standards for the protection of

health information.

        89.   HIPAA’s Privacy Rule or Security Standards for the Protection of

Electronic Protected Health Information establishes a national set of security

standards for protecting health information that is kept or transferred in electronic

form.

        90.   HIPAA requires “compl[iance] with the applicable standards,

implementation specifications, and requirements” of HIPAA “with respect to

electronic protected health information.” 45 C.F.R. § 164.302.

        91.   “Electronic protected health information” is “individually identifiable

health information … that is (i) transmitted by electronic media; maintained in

electronic media.” 45 C.F.R. § 160.103.

        92.   HIPAA’s Security Rule requires Defendant to do the following:




34
  HIPAA and HITECH work in tandem to provide guidelines and rules for
maintaining protected health information. HITECH references and incorporates
HIPAA.

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             a.     Ensure the confidentiality, integrity, and availability of all

                    electronic protected health information the covered entity or

                    business associate creates, receives, maintains, or transmits;

             b.     Protect against any reasonably anticipated threats or hazards to

                    the security or integrity of such information;

             c.     Protect against any reasonably anticipated uses or disclosures of

                    such information that are not permitted; and

             d.     Ensure compliance by its workforce.

      93.    HIPAA also requires Defendant to “review and modify the security

measures implemented … as needed to continue provision of reasonable and

appropriate protection of electronic protected health information.” 45 C.F.R. §

164.306(e). Additionally, Defendant is required under HIPAA to “[i]mplement

technical policies and procedures for electronic information systems that maintain

electronic protected health information to allow access only to those persons or

software programs that have been granted access rights.” 45 C.F.R. § 164.312(a)(1).

      94.    HIPAA and HITECH also obligated Defendant to implement policies

and procedures to prevent, detect, contain, and correct security violations, and to

protect against uses or disclosures of electronic protected health information that are

reasonably anticipated but not permitted by the privacy rules. See 45 C.F.R. §

164.306(a)(1) and § 164.306(a)(3); see also 42 U.S.C. §17902.



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      95.    The HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400-414, also

requires Defendant to provide notice of the Data Breach to each affected individual

“without unreasonable delay and in no case later than 60 days following discovery

of the breach.”35

      96.    HIPAA requires a covered business associate to have and apply

appropriate sanctions against members of its workforce who fail to comply with the

privacy policies and procedures of the covered entity or the requirements of 45

C.F.R. Part 164, Subparts D or E. See 45 C.F.R. § 164.530(e).

      97.    HIPAA requires a covered business associate to mitigate, to the extent

practicable, any harmful effect that is known to the covered business associate of a

use or disclosure of protected health information in violation of its policies and

procedures or the requirements of 45 C.F.R. Part 164, Subpart E by the covered

entity or its business associate. See 45 C.F.R. § 164.530(f).

      98.    HIPAA also requires the Office of Civil Rights (“OCR”), within the

Department of Health and Human Services (“HHS”), to issue annual guidance

documents on the provisions in the HIPAA Security Rule. See 45 C.F.R. §§ 164.302-

164.318. For example, “HHS has developed guidance and tools to assist HIPAA

covered entities in identifying and implementing the most cost effective and


35
    Breach Notification Rule, U.S. Dep’t of Health & Human Services,
https://www.hhs.gov/hipaa/for-professionals/breach-notification/index.html
(emphasis added).

                                         31
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appropriate administrative, physical, and technical safeguards to protect the

confidentiality, integrity, and availability of e-PHI and comply with the risk analysis

requirements of the Security Rule.” US Department of Health & Human Services,

Security Rule Guidance Material.36 The list of resources includes a link to guidelines

set by the National Institute of Standards and Technology (NIST), which OCR says

“represent the industry standard for good business practices with respect to standards

for securing e-PHI.” US Department of Health & Human Services, Guidance on Risk

Analysis.37

      Defendant Fails To Comply With Industry Standards

      99.     As noted above, experts studying cyber security routinely identify

healthcare companies in possession of Private Information as being particularly

vulnerable to cyberattacks because of the value of the Private Information which

they collect and maintain.

      100. Several best practices have been identified that, at a minimum, should

be implemented by healthcare companies in possession of Private Information, like

Defendant, including but not limited to: educating all employees; strong passwords;

multi-layer security, including firewalls, anti-virus, and anti-malware software;

encryption, making data unreadable without a key; multi-factor authentication;


36
  http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html.
37
      https://www.hhs.gov/hipaa/for-professionals/security/guidance/guidance-risk-
analysis/index.html

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backup data and limiting which employees can access sensitive data. Defendant

failed to follow these industry best practices, including a failure to implement multi-

factor authentication.

      101. Other best cybersecurity practices that are standard in the healthcare

industry include installing appropriate malware detection software; monitoring and

limiting the network ports; protecting web browsers and email management systems;

setting up network systems such as firewalls, switches and routers; monitoring and

protection of physical security systems; protection against any possible

communication system; training staff regarding critical points. Defendant failed to

follow these cybersecurity best practices, including failure to train staff.

      102. Defendant failed to meet the minimum standards of any of the

following frameworks: the NIST Cybersecurity Framework Version 1.1 (including

without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7,

PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7,

DE.CM-8, and RS.CO-2), and the Center for Internet Security’s Critical Security

Controls (CIS CSC), which are all established standards in reasonable cybersecurity

readiness.

      103. These foregoing frameworks are existing and applicable industry

standards in the healthcare industry, and upon information and belief, Defendant




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failed to comply with at least one––or all––of these accepted standards, thereby

opening the door to the threat actor and causing the Data Breach.

                      COMMON INJURIES & DAMAGES

      104. As a result of Defendant's ineffective and inadequate data security

practices, the Data Breach, and the foreseeable consequences of Private Information

ending up in the possession of criminals, the risk of identity theft to the Plaintiff and

Class Members has materialized and is imminent, and Plaintiff and Class Members

have all sustained actual injuries and damages, including: (i) invasion of privacy; (ii)

theft of their Private Information; (iii) lost or diminished value of Private

Information; (iv) lost time and opportunity costs associated with attempting to

mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages;

and (ix) the continued and certainly increased risk to their Private Information,

which: (a) remains unencrypted and available for unauthorized third parties to access

and abuse; and (b) remains backed up in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate

and adequate measures to protect the Private Information.

      The Data Breach Increases Victims’ Risk Of Identity Theft




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      105. The unencrypted Private Information of Plaintiff and Class Members

will end up for sale on the dark web as that is the modus operandi of hackers.

      106. Unencrypted Private Information may also fall into the hands of

companies that will use the detailed Private Information for targeted marketing

without the approval of Plaintiff and Class Members. Simply, unauthorized

individuals can easily access the Private Information of Plaintiff and Class Members.

      107. The link between a data breach and the risk of identity theft is simple

and well established. Criminals acquire and steal Private Information to monetize

the information. Criminals monetize the data by selling the stolen information on the

black market to other criminals who then utilize the information to commit a variety

of identity theft related crimes discussed below.

      108. Plaintiff's and Class Members’ Private Information is of great value to

hackers and cyber criminals, and the data stolen in the Data Breach has been used

and will continue to be used in a variety of sordid ways for criminals to exploit

Plaintiff and Class Members and to profit off their misfortune.

      109. One such example of criminals piecing together bits and pieces of

compromised PII for profit is the development of “Fullz” packages.38


38
   “Fullz” is fraudster speak for data that includes the information of the victim,
including, but not limited to, the name, address, credit card information, social
security number, date of birth, and more. As a rule of thumb, the more information
you have on a victim, the more money that can be made off of those credentials.
Fullz are usually pricier than standard credit card credentials, commanding up to

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      110. With “Fullz” packages, cyber-criminals can cross-reference two

sources of Private Information to marry unregulated data available elsewhere to

criminally stolen data with an astonishingly complete scope and degree of accuracy

in order to assemble complete dossiers on individuals.

      111. The development of “Fullz” packages means here that the stolen Private

Information from the Data Breach can easily be used to link and identify it to

Plaintiffs’ and Class Members’ phone numbers, email addresses, and other

unregulated sources and identifiers. In other words, even if certain information such

as emails, phone numbers, or credit card numbers may not be included in the Private

Information that was exfiltrated in the Data Breach, criminals may still easily create

a Fullz package and sell it at a higher price to unscrupulous operators and criminals

(such as illegal and scam telemarketers) over and over.




$100 per record (or more) on the dark web. Fullz can be cashed out (turning
credentials into money) in various ways, including performing bank transactions
over the phone with the required authentication details in-hand. Even “dead Fullz,”
which are Fullz credentials associated with credit cards that are no longer valid, can
still be used for numerous purposes, including tax refund scams, ordering credit
cards on behalf of the victim, or opening a “mule account” (an account that will
accept a fraudulent money transfer from a compromised account) without the
victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in
Underground Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18,
2014),             https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-
underground-stolen-from-texas-life-
insurance-](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-
underground-stolen-from-texas-life-insurance-finn/

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        112. The existence and prevalence of “Fullz” packages means that the

Private Information stolen from the data breach can easily be linked to the

unregulated data (like phone numbers and emails) of Plaintiff and the other Class

Members.

        113. Thus, even if certain information (such as Social Security numbers

numbers) was not stolen in the data breach, criminals can still easily create a

comprehensive “Fullz” package.

        114. Then, this comprehensive dossier can be sold—and then resold in

perpetuity—to crooked operators and other criminals (like illegal and scam

telemarketers).

        Loss Of Time To Mitigate The Risk Of Identity Theft And Fraud

        115. As a result of the recognized risk of identity theft, when a Data Breach

occurs, and an individual is notified by a company that their Private Information was

compromised, as in this Data Breach, the reasonable person is expected to take steps

and spend time to address the dangerous situation, learn about the breach, and

otherwise mitigate the risk of becoming a victim of identity theft of fraud. Failure to

spend time taking steps to review accounts or credit reports could expose the

individual to greater financial harm – yet, the resource and asset of time has been

lost.




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      116. Thus, due to the actual and imminent risk of identity theft, Defendant

instructs, in its Notice Letter, Plaintiffs and Class Members to take the following

measures to protect themselves: “[w]e encourage you to remain vigilant against

incidents of identity theft and fraud by reviewing account statements, explanation of

benefits statements, and monitoring free credit reports for suspicious activity and to

detect errors.”39

      117. Plaintiff and Class Members have spent, and will spend additional time

in the future, on a variety of prudent actions, such as researching and verifying the

legitimacy of the Data Breach as well as monitoring their financial accounts for any

indication of fraudulent activity, which may take years to detect.

      118. Plaintiff's mitigation efforts are consistent with the U.S. Government

Accountability Office that released a report in 2007 regarding data breaches (“GAO

Report”) in which it noted that victims of identity theft will face “substantial costs

and time to repair the damage to their good name and credit record.”40

      119. Plaintiff's mitigation efforts are also consistent with the steps that FTC

recommends that data breach victims take several steps to protect their personal and

financial information after a data breach, including: contacting one of the credit


39
  Notice Letter.
40
   See United States Government Accountability Office, GAO-07-737, Personal
Information: Data Breaches Are Frequent, but Evidence of Resulting Identity Theft
Is Limited; However, the Full Extent Is Unknown (June 2007),
https://www.gao.gov/new.items/d07737.pdf.

                                         38
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bureaus to place a fraud alert (consider an extended fraud alert that lasts for seven

years if someone steals their identity), reviewing their credit reports, contacting

companies to remove fraudulent charges from their accounts, placing a credit freeze

on their credit, and correcting their credit reports.41

         120. And for those Class Members who experience actual identity theft and

fraud, the United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity

theft will face “substantial costs and time to repair the damage to their good name

and credit record.”[4]

         Diminution Of Value Of PII and PHI

         121. PII and PHI are valuable property rights.42 Their value is axiomatic,

considering the value of Big Data in corporate America and the consequences of

cyber thefts include heavy prison sentences. Even this obvious risk to reward

analysis illustrates beyond doubt that Private Information has considerable market

value.




41
        See     Federal       Trade   Commission,      Identity      Theft.gov,
https://www.identitytheft.gov/Steps
42
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is
Limited; However, the Full Extent Is Unknown,” p. 2, U.S. Government
Accountability Office, June 2007, https://www.gao.gov/new.items/d07737.pdf
(“GAO Report”).

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      122. Sensitive PII can sell for as much as $363 per record according to the

Infosec Institute.43

      123. An active and robust legitimate marketplace for PII also exists. In 2019,

the data brokering industry was worth roughly $200 billion.44

      124. In fact, the data marketplace is so sophisticated that consumers can

actually sell their non-public information directly to a data broker who in turn

aggregates the information and provides it to marketers or app developers.45,46

Consumers who agree to provide their web browsing history to the Nielsen

Corporation can receive up to $50.00 a year.47

      125. According to account monitoring company LogDog, medical data sells

for $50 and up on the Dark Web.48




43
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally
Identifiable Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L.
& Tech. 11, at *3-4 (2009) (“Private Information, which companies obtain at little
cost, has quantifiable value that is rapidly reaching a level comparable to the value
of traditional financial assets.”) (citations omitted).
44
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July
27, 2015), https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-
data-in-the-black-market/
45
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers
46
   https://datacoup.com/
47
   https://digi.me/what-is-digime/
48
    Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals,
Naked                  Security               (Oct.             3,             2019),
https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-
sometimes-crush-hospitals/#content

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       126. As a result of the Data Breach, Plaintiff’s and Class Members’ Private

Information, which has an inherent market value in both legitimate and dark markets,

has been damaged and diminished by its compromise and unauthorized release.

However, this transfer of value occurred without any consideration paid to Plaintiff

or Class Members for their property, resulting in an economic loss. Moreover, the

Private Information is now readily available, and the rarity of the Data has been lost,

thereby causing additional loss of value.

       127. At all relevant times, Defendant knew, or reasonably should have

known, of the importance of safeguarding the Private Information of Plaintiff and

Class Members, and of the foreseeable consequences that would occur if Defendant's

data security system was breached, including, specifically, the significant costs that

would be imposed on Plaintiff and Class Members as a result of a breach.

       128. The fraudulent activity resulting from the Data Breach may not come

to light for years.

       129. Plaintiff and Class Members now face years of constant surveillance of

their financial and personal records, monitoring, and loss of rights. The Class is

incurring and will continue to incur such damages in addition to any fraudulent use

of their Private Information .

       130. Defendant was, or should have been, fully aware of the unique type and

the significant volume of data on Defendants network, amounting to over one



                                            41
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hundred thousand individuals’ detailed personal information and, thus, the

significant number of individuals who would be harmed by the exposure of the

unencrypted data.

      131. The injuries to Plaintiff and Class Members were directly and

proximately caused by Defendant's failure to implement or maintain adequate data

security measures for the Private Information of Plaintiff and Class Members.

      Future Cost Of Credit And Identity Theft Monitoring Is Reasonable And
      Necessary

      132. Given the type of targeted attack in this case, sophisticated criminal

activity, and the type of Private Information involved, there is a strong probability

that entire batches of stolen information have been placed, or will be placed, on the

black market/dark web for sale and purchase by criminals intending to utilize the

Private Information for identity theft crimes –e.g., opening bank accounts in the

victims’ names to make purchases or to launder money; file false tax returns; take

out loans or lines of credit; or file false unemployment claims.

      133. Such fraud may go undetected until debt collection calls commence

months, or even years, later. An individual may not know that his or her Private

Information was used to file for unemployment benefits until law enforcement

notifies the individual’s employer of the suspected fraud. Fraudulent tax returns are

typically discovered only when an individual’s authentic tax return is rejected.




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         134. Consequently, Plaintiff and Class Members are at an increased risk of

fraud and identity theft for many years into the future.

         135. The retail cost of credit monitoring and identity theft monitoring can

cost around $200 a year per Class Member. This is a reasonable and necessary cost

to monitor to protect Class Members from the risk of identity theft that arose from

Defendant's Data Breach.

         Loss of Benefit of the Bargain

         136. Furthermore, Defendant’s poor data security deprived Plaintiff and

Class Members of the benefit of their bargain. When agreeing to obtain medical

services at Defendant’s clients under certain terms, Plaintiff and other reasonable

patients understood and expected that Defendant would properly safeguard and

protect their Private Information, when in fact, Defendant did not provide the

expected data security. Accordingly, Plaintiff and Class Members received medical

services positions of a lesser value than what they reasonably expected to receive

under the bargains they struck with Defendant’s clients.

                           PLAINTIFF’S EXPERIENCE

         137. Plaintiff is a current patient at Beaumont ACO, which contracts with

HealthEC for services.49




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     Notice Letter.

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         138. As a condition of obtaining medical services at Beaumont ACO,

Plaintiff was required to provide Defendant with her Private Information, including

her name, date of birth, and other sensitive information.

         139. At the time of the Data Breach—July 14, 2023 through July 23, 2023—

Defendant retained Plaintiff’s Private Information in its system.

         140. Plaintiff is very careful about sharing her sensitive Private Information.

Plaintiff stores any documents containing her Private Information in a safe and

secure location. She has never knowingly transmitted unencrypted sensitive Private

Information over the internet or any other unsecured source.

         141. Plaintiff received the Notice Letter, by U.S. mail, directly from

Defendant, dated December 22, 2023, informing her that her Private Information

was improperly accessed and obtained by unauthorized third parties during the Data

Breach, including her name, date of birth, medical information, and billing or claims

information.

         142. As a result of the Data Breach and at the direction of the Notice Letter,

which instructs Plaintiff to “remain vigilant against incidents of identity theft and

fraud by reviewing account statements, explanation of benefits statements, and

monitoring free credit reports for suspicious activity and to detect errors[,]”50

Plaintiff made reasonable efforts to mitigate the impact of the Data Breach, including


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     Notice Letter.

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but not limited to: researching and verifying the legitimacy of the Data Breach as

well as monitoring her financial accounts for any indication of fraudulent activity,

which may take years to detect. Plaintiff has spent significant time remedying the

breach––valuable time Plaintiff otherwise would have spent on other activities,

including but not limited to work and/or recreation. This time has been lost forever

and cannot be recaptured.

      143. Plaintiff suffered actual injury from having her Private Information

compromised as a result of the Data Breach including, but not limited to: (i) invasion

of privacy; (ii) theft of her Private Information; (iii) lost or diminished value of

Private Information; (iv) lost time and opportunity costs associated with attempting

to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages;

and (ix) the continued and certainly increased risk to her Private Information, which:

(a) remains unencrypted and available for unauthorized third parties to access and

abuse; and (b) remains backed up in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the Private Information.




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      144. Plaintiff further suffered actual injury in the form of experiencing an

increase in spam calls, texts, and/or emails, which, upon information and belief, was

caused by the Data Breach.

      145. The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress,

which has been compounded by the fact that Defendant has still not fully informed

her of key details about the Data Breach’s occurrence.

      146. As a result of the Data Breach, Plaintiff anticipates spending

considerable time on an ongoing basis to try to mitigate and address harms caused

by the Data Breach.

      147. As a result of the Data Breach, Plaintiff is at a present risk and will

continue to be at increased risk of identity theft and fraud for years to come.

      148. Plaintiff has a continuing interest in ensuring that her Private

Information, which, upon information and belief, remains backed up in Defendant's

possession, is protected and safeguarded from future breaches.

                        CLASS ACTION ALLEGATIONS

      149. Pursuant to Federal Rule of Civil Procedure 23, Plaintiff proposes the

following Class definition, subject to amendment as appropriate:

      All persons whose Private Information was maintained on Defendant’s
      computer systems that were compromised in the Data Breach
      announced by Defendant in December 2023 (the “Class”).




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      150. Excluded from the Class are Defendant’s officers and directors, and any

entity in which Defendant has a controlling interest; and the affiliates, legal

representatives, attorneys, successors, heirs, and assigns of Defendant. Excluded

also from the Class are members of the judiciary to whom this case is assigned, their

families and members of their staff.

      151. Plaintiff hereby reserves the right to amend or modify the Class

definition with greater specificity or division after having had an opportunity to

conduct discovery.

      152. Numerosity. The Members of the Class are so numerous that joinder of

all of them is impracticable. While the exact number of Class Members is unknown

to Plaintiff at this time, according to the reports submitted to the Office of the Maine

Attorney General, at least 112,000 persons were impacted in the Data Breach.51

      153. Commonality. There are questions of law and fact common to the Class,

which predominate over any questions affecting only individual Class Members.

These common questions of law and fact include, without limitation:

          a. Whether Defendant unlawfully used, maintained, lost, or disclosed

              Plaintiff’s and Class Members’ Private Information;




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   https://apps.web.maine.gov/online/aeviewer/ME/40/4680936e-e496-43ed-a35d-
59ece9b523b6.shtml

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         b. Whether Defendant failed to implement and maintain reasonable

              security procedures and practices appropriate to the nature and scope

              of the information compromised in the Data Breach;

         c. Whether Defendant’s data security systems prior to and during the

              Data Breach complied with applicable data security laws and

              regulations;

         d. Whether Defendant’s data security systems prior to and during the

              Data Breach were consistent with industry standards;

         e. Whether Defendant owed a duty to Class Members to safeguard their

              Private Information;

         f. Whether Defendant breached its duty to Class Members to safeguard

              their Private Information;

         g. Whether computer hackers obtained Class Members’ Private

              Information in the Data Breach;

         h. Whether Defendant knew or should have known that its data security

              systems and monitoring processes were deficient;

         i.   Whether Plaintiff and Class Members suffered legally cognizable

              damages as a result of Defendant’s misconduct;

         j.   Whether Defendant’s conduct was negligent;




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         k. Whether Defendant breached implied contracts for adequate data

              security with Plaintiff and Class Members;

         l.   Whether Defendant was unjustly enriched by retention of the

              monetary benefits conferred on it by Plaintiff and Class Members;

         m. Whether Defendant failed to provide notice of the Data Breach in a

              timely manner; and,

         n. Whether Plaintiff and Class Members are entitled to damages, civil

              penalties, punitive damages, and/or injunctive relief.

      154. Typicality. Plaintiff’s claims are typical of those of other Class

Members because Plaintiff’s Private Information, like that of every other Class

Member, was compromised in the Data Breach.

      155. Adequacy of Representation. Plaintiff will fairly and adequately

represent and protect the interests of the Members of the Class. Plaintiff’s Counsel

are competent and experienced in litigating class actions.

      156. Predominance. Defendant has engaged in a common course of conduct

toward Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’

Private Information was stored on the same computer systems and unlawfully

accessed in the same way. The common issues arising from Defendant’s conduct

affecting Class Members set out above predominate over any individualized issues.




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Adjudication of these common issues in a single action has important and desirable

advantages of judicial economy.

      157. Superiority. A class action is superior to other available methods for the

fair and efficient adjudication of the controversy. Class treatment of common

questions of law and fact is superior to multiple individual actions or piecemeal

litigation. Absent a class action, most Class Members would likely find that the cost

of litigating their individual claims is prohibitively high and would therefore have

no effective remedy. The prosecution of separate actions by individual Class

Members would create a risk of inconsistent or varying adjudications with respect

to individual Class Members, which would establish incompatible standards of

conduct for Defendant. In contrast, the conduct of this action as a class action

presents far fewer management difficulties, conserves judicial resources and the

parties’ resources, and protects the rights of each Class Member.

      158. Defendant has acted on grounds that apply generally to the Class as a

whole, so that class certification, injunctive relief, and corresponding declaratory

relief are appropriate on a class-wide basis.

      159. Likewise, particular issues under Fed. R. Civ. P. 23(c)(4) are

appropriate for certification because such claims present only particular, common

issues, the resolution of which would advance the disposition of this matter and the

parties’ interests therein. Such particular issues include, but are not limited to:



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         a. Whether Defendant owed a legal duty to Plaintiff and the Class to

            exercise due care in collecting, storing, and safeguarding their

            Private Information;

         b. Whether Defendant’s security measures to protect its data systems

            were reasonable in light of best practices recommended by data

            security experts;

         c. Whether Defendant’s failure to institute adequate protective security

            measures amounted to negligence;

         d. Whether Defendant failed to take commercially reasonable steps to

            safeguard consumer Private Information; and

         e. Whether adherence to FTC data security recommendations, and

            measures recommended by data security experts would have

            reasonably prevented the Data Breach.

      160. Finally, all Members of the proposed Class are readily ascertainable.

Defendant has access to Class Members’ names and addresses affected by the Data

Breach. Class Members have already been preliminarily identified and sent Notice

of the Data Breach by Defendant.




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                                   COUNT I
                                   Negligence
                 (On Behalf of Plaintiff and All Class Members)

      161. Plaintiff re-alleges and incorporates by reference all preceding

allegations, as if fully set forth herein.

      162. Defendant gathered and stored the Private Information of Plaintiff

and Class Members as part of its business of soliciting its services to its clients,

which solicitations and services affect commerce.

      163. Plaintiff and Class Members entrusted Defendant with their Private

Information with the understanding that Defendant would safeguard their

information.

      164. Defendant had full knowledge of the sensitivity of the Private

Information and the types of harm that Plaintiff and Class Members could and

would suffer if the Private Information were wrongfully disclosed.

      165. By assuming the responsibility to collect and store this data, and in

fact doing so, and sharing it and using it for commercial gain, Defendant had a

duty of care to use reasonable means to secure and safeguard their computer

property—and Class Members’ Private Information held within it—to prevent

disclosure of the information, and to safeguard the information from theft.

Defendant’s duty included a responsibility to implement processes by which they




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could detect a breach of its security systems in a reasonably expeditious period of

time and to give prompt notice to those affected in the case of a data breach.

      166. Defendant had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits

“unfair . . . practices in or affecting commerce,” including, as interpreted and

enforced by the FTC, the unfair practice of failing to use reasonable measures to

protect confidential data.

      167. Defendant's duty to use reasonable security measures under HIPAA

required Defendant to "reasonably protect" confidential data from "any

intentional or unintentional use or disclosure" and to "have in place appropriate

administrative, technical, and physical safeguards to protect the privacy of

protected health information." 45 C.F.R. § 164.530(c)(l). Some or all of the

healthcare and/or medical information at issue in this case constitutes "protected

health information" within the meaning of HIPAA.

      168. For instance, HIPAA required Defendant to notify victims of the

Breach within 60 days of the discovery of the Data Breach. Defendant did not

begin to notify Plaintiff or Class Members of the Data Breach until December 22,

2023 despite, upon information and belief, Defendant knowing shortly after July

23, 2023 that unauthorized persons had accessed and acquired the private,

protected, personal information of Plaintiff and the Class.



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      169. Defendant owed a duty of care to Plaintiff and Class Members to

provide data security consistent with industry standards and other requirements

discussed herein, and to ensure that its systems and networks, and the personnel

responsible for them, adequately protected the Private Information.

      170. Defendant’s duty of care to use reasonable security measures arose

as a result of the special relationship that existed between Defendant and its

clients’ patients. That special relationship arose because Plaintiff and the Class

entrusted Defendant with their confidential Private Information, a necessary part

of being patients at Defendant’s clients.

      171. Defendant’s duty to use reasonable care in protecting confidential

data arose not only as a result of the statutes and regulations described above, but

also because Defendant is bound by industry standards to protect confidential

Private Information.

      172. Defendant was subject to an “independent duty,” untethered to any

contract between Defendant and Plaintiff or the Class.

      173. Defendant also had a duty to exercise appropriate clearinghouse

practices to remove former patients’ Private Information it was no longer required

to retain pursuant to regulations.

      174. Moreover, Defendant had a duty to promptly and adequately notify

Plaintiff and the Class of the Data Breach.



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      175. Defendant had and continues to have a duty to adequately disclose

that the Private Information of Plaintiff and the Class within Defendant’s

possession might have been compromised, how it was compromised, and

precisely the types of data that were compromised and when. Such notice was

necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and

repair any identity theft and the fraudulent use of their Private Information by

third parties.

      176. Defendant breached its duties, pursuant to the FTC Act, HIPAA, and

other applicable standards, and thus were negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent

acts and omissions committed by Defendant include, but are not limited to, the

following:

          a.     Failing to adopt, implement, and maintain adequate security measures

                 to safeguard Class Members’ Private Information;

          b.     Failing to adequately monitor the security of their networks and

                 systems;

          c.     Failure to periodically ensure that their email system had plans in

                 place to maintain reasonable data security safeguards;

          d.     Allowing    unauthorized    access   to   Class   Members’   Private

                 Information;



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         e.   Failing to detect in a timely manner that Class Members’ Private

              Information had been compromised;

         f.   Failing to remove former patients’ Private Information it was no

              longer required to retain pursuant to regulations,

         g.   Failing to timely and adequately notify Class Members about the Data

              Breach’s occurrence and scope, so that they could take appropriate

              steps to mitigate the potential for identity theft and other damages;

              and

         h.   Failing to secure its stand-alone personal computers, such as the

              reception desk computers, even after discovery of the data breach.

      177. Defendant violated Section 5 of the FTC Act and HIPAA by failing

to use reasonable measures to protect Private Information and not complying with

applicable industry standards, as described in detail herein. Defendant’s conduct

was particularly unreasonable given the nature and amount of Private Information

it obtained and stored and the foreseeable consequences of the immense damages

that would result to Plaintiff and the Class.

      178. Plaintiff and the Class are within the class of persons that the FTC

Act and HIPAA were intended to protect.

      179. The harm that occurred as a result of the Data Breach is the type of

harm the FTC Act and HIPAA were intended to guard against.



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      180. Defendant’s violation of Section 5 of the FTC Act and HIPAA

constitutes negligence.

      181. The FTC has pursued enforcement actions against businesses, which,

as a result of their failure to employ reasonable data security measures and avoid

unfair and deceptive practices, caused the same harm as that suffered by Plaintiff

and the Class.

      182. A breach of security, unauthorized access, and resulting injury to

Plaintiff and the Class was reasonably foreseeable, particularly in light of

Defendant’s inadequate security practices.

      183. It was foreseeable that Defendant’s failure to use reasonable

measures to protect Class Members’ Private Information would result in injury to

Class Members. Further, the breach of security was reasonably foreseeable given

the known high frequency of cyberattacks and data breaches in the healthcare

industry.

      184. Defendant has full knowledge of the sensitivity of the Private

Information and the types of harm that Plaintiff and the Class could and would

suffer if the Private Information were wrongfully disclosed.

      185. Plaintiff and the Class were the foreseeable and probable victims of

any inadequate security practices and procedures. Defendant knew or should have

known of the inherent risks in collecting and storing the Private Information of



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Plaintiff and the Class, the critical importance of providing adequate security of

that Private Information, and the necessity for encrypting Private Information

stored on Defendant’s systems.

      186. It was therefore foreseeable that the failure to adequately safeguard

Class Members’ Private Information would result in one or more types of injuries

to Class Members.

      187. Plaintiff and the Class had no ability to protect their Private

Information that was in, and possibly remains in, Defendant’s possession.

      188. Defendant was in a position to protect against the harm suffered by

Plaintiff and the Class as a result of the Data Breach.

      189. Defendant’s duty extended to protecting Plaintiff and the Class from

the risk of foreseeable criminal conduct of third parties, which has been

recognized in situations where the actor’s own conduct or misconduct exposes

another to the risk or defeats protections put in place to guard against the risk, or

where the parties are in a special relationship. See Restatement (Second) of Torts

§ 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

      190. Defendant has admitted that the Private Information of Plaintiff and

the Class was wrongfully lost and disclosed to unauthorized third persons as a

result of the Data Breach.



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      191. But for Defendant’s wrongful and negligent breach of duties owed to

Plaintiff and the Class, the Private Information of Plaintiff and the Class would

not have been compromised.

      192. There is a close causal connection between Defendant’s failure to

implement security measures to protect the Private Information of Plaintiff and

the Class and the harm, or risk of imminent harm, suffered by Plaintiff and the

Class. The Private Information of Plaintiff and the Class was lost and accessed as

the proximate result of Defendant’s failure to exercise reasonable care in

safeguarding such Private Information by adopting, implementing, and

maintaining appropriate security measures.

      193. As a direct and proximate result of Defendant’s negligence, Plaintiff

and the Class have suffered and will suffer injury, including but not limited to: (i)

invasion of privacy; (ii) theft of their Private Information; (iii) lost or diminished

value of Private Information; (iv) lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit

of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (vii) experiencing an increase in spam calls,

texts, and/or emails; (viii) statutory damages; (ix) nominal damages; and (x) the

continued and certainly increased risk to their Private Information, which: (a)

remains unencrypted and available for unauthorized third parties to access and



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abuse; and (b) remains backed up in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the Private Information.

      194. As a direct and proximate result of Defendant’s negligence, Plaintiff

and the Class have suffered and will continue to suffer other forms of injury

and/or harm, including, but not limited to, anxiety, emotional distress, loss of

privacy, and other economic and non-economic losses.

      195. Additionally, as a direct and proximate result of Defendant’s

negligence, Plaintiff and the Class have suffered and will suffer the continued

risks of exposure of their Private Information, which remain in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the Private

Information in its continued possession.

      196. Plaintiff and Class Members are entitled to compensatory and

consequential damages suffered as a result of the Data Breach.

      197. Defendant’s negligent conduct is ongoing, in that it still holds the

Private Information of Plaintiff and Class Members in an unsafe and insecure

manner.

      198. Plaintiff and Class Members are also entitled to injunctive relief

requiring Defendant to (i) strengthen its data security systems and monitoring



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procedures; (ii) submit to future annual audits of those systems and monitoring

procedures; and (iii) continue to provide adequate credit monitoring to all Class

Members.

                                     COUNT II
                    Breach of Third-Party Beneficiary Contract
                   (On Behalf of Plaintiff and All Class Members)

      199. Plaintiff re-alleges and incorporates by reference all preceding

allegations, as if fully set forth herein.

      200. Upon information and belief, Defendant entered into virtually

identical contracts with its clients, including Beaumont ACO, to provide

healthcare support services, which included data security practices, procedures,

and protocols sufficient to safeguard the Private Information that was to be

entrusted to it.

      201. Such contracts were made expressly for the benefit of Plaintiff and

the Class, as it was their Private Information that Defendant agreed to receive and

protect through its services. Thus, the benefit of collection and protection of the

Private Information belonging to Plaintiff and the Class was the direct and

primary objective of the contracting parties, and Plaintiff and Class Members

were direct and express beneficiaries of such contracts.

      202. Defendant knew that if they were to breach these contracts with its

clients, Plaintiff and the Class would be harmed.



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      203. Defendant breached its contracts with its clients and, as a result,

Plaintiff and Class Members were affected by this Data Breach when Defendant

failed to use reasonable data security and/or business associate monitoring

measures that could have prevented the Data Breach.

      204. As foreseen, Plaintiff and the Class were harmed by Defendant’s

failure to use reasonable data security measures to securely store and protect the

files in its care, including but not limited to, the continuous and substantial risk

of harm through the loss of their Private Information.

      205. Accordingly, Plaintiff and the Class are entitled to damages in an

amount to be determined at trial, along with costs and attorneys’ fees incurred in

this action.

                                  COUNT III
                             Breach of Confidence
                 (On Behalf of Plaintiff and All Class Members)

      206. Plaintiff re-alleges and incorporates by reference all preceding

allegations, as if fully set forth herein.

      207. Plaintiff and Class Members entrusted their Private Information to

Defendant and depended entirely on Defendant to exercise due care and safeguard

their Private Information.

      208. The totality of Plaintiff’s and Class Members’ Private Information is

confidential and novel.



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      209. Defendant knew that Plaintiff’s and Class Members’ Private

Information was provided to it in confidence and that severe consequences would

result if the information was acquired by unauthorized parties.

      210. By assuming the responsibility to collect and store this data, and in

fact doing so, and sharing it and using it for commercial gain, Defendant had a

duty of care to use reasonable means to secure and safeguard their computer

property—and Class Members’ Private Information held within it—to prevent

disclosure of the information, and to safeguard the information from theft.

Defendant’s duty included a responsibility to implement processes by which they

could detect a breach of its security systems in a reasonably expeditious period of

time and to give prompt notice to those affected in the case of a data breach.

      211. Upon information and belief, Plaintiff and Class Members had

agreements with Defendant’s clients that required Defendant to keep their Private

Information confidential.

      212. There was an understanding between Defendant on the one hand, and

Plaintiff and Class Members on the other, that Defendant would not betray their

confidence by failing to employ reasonable and adequate safeguards to protect

their Private Information.




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      213. Defendant breached that confidence by failing to employ reasonable

and adequate safeguards and disclosing Plaintiff’s and Class Members’ Private

Information without their authorization and for unnecessary purposes.

      214. In breaching Plaintiff’s and Class Members’ confidence in the

manner described above, Defendant acted with oppression, fraud, or malice.

      215. As a result of the breach, Plaintiff and Class Members suffered

damages that were attributable to Defendant’s failure to maintain confidence in

their Private Information.

      216. Plaintiff and Class Members have been damaged by Defendant’s

breach of trust and confidence and are entitled to just compensation in the form

of actual damages, general damages, unjust enrichment, nominal damages, and

punitive damages.

                                   COUNT IV
                               Invasion of Privacy
                 (On Behalf of Plaintiff and All Class Members)

      217. Plaintiff re-alleges and incorporates by reference all preceding

allegations, as if fully set forth herein.

      218. Defendant invaded Plaintiff’s and the Class Members’ right to

privacy by allowing the unauthorized access to Plaintiff’s and Class Members’

Private Information and by negligently maintaining the confidentiality of

Plaintiff’s and Class Members’ Private Information, as set forth above. Defendant



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further invaded Plaintiff’s and Class Member’s privacy by giving publicity to

Plaintiff’s and Class Members sensitive and confidential Private Information.

      219. The intrusion was offensive and objectionable to Plaintiff, the Class

Members, and to a reasonable person of ordinary sensibilities in that Plaintiff’s

and Class Members’ Private Information was disclosed without prior written

authorization of Plaintiff and the Class.

      220. The intrusion was into a place or thing which was private and is

entitled to be private, in that Plaintiff and the Class Members provided and

disclosed their Private Information to Defendant privately with an intention that

the Private Information would be kept confidential and protected from

unauthorized disclosure. Plaintiff and the Class Members were reasonable to

believe that such information would be kept private and would not be disclosed

without their written authorization.

      221. As a direct and proximate result of Defendant’s above acts,

Plaintiff’s and the Class Members’ Private Information was viewed, distributed,

and used by persons without prior written authorization and Plaintiff and the Class

Members suffered damages as described herein.

      222. Defendant has committed oppression, fraud, or malice by permitting

the unauthorized disclosure of Plaintiff’s and the Class Members’ Private




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Information with a willful and conscious disregard of Plaintiff’s and the Class

Members’ right to privacy.

      223. Plaintiff and Class Members have no adequate remedy at law for the

injuries in that a judgment for the monetary damages will not end the invasion of

privacy for Plaintiff and the Class, and Defendant may freely treat Plaintiff’s and

Class Members’ Private Information with sub-standard and insufficient

protections.

      224. Unless and until enjoined, and restrained by order of this Court,

Defendant’s wrongful conduct will continue to cause Plaintiff and the Class

Members great and irreparable injury in that the Private Information maintained

by Defendant can be viewed, printed, distributed, and used by unauthorized

persons.

                                   COUNT V
                               Unjust Enrichment
                 (On Behalf of Plaintiff and All Class Members)

      225. Plaintiff re-alleges and incorporates by reference all preceding

allegations, as if fully set forth herein.

      226. Plaintiff brings this claim in the alternative to her breach of implied

contract claim above.

      227. Plaintiff and Class Members conferred a monetary benefit on

Defendant. Specifically, they provided Defendant with their Private Information.



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In exchange, Plaintiff and Class Members should have received from Defendant’s

clients the services position that were the subject of the transaction and should

have had their Private Information protected with adequate data security.

      228. Defendant knew that Plaintiff and Class Members conferred a benefit

on it in the form their Private Information as a necessary part of their receiving

healthcare services at Defendant’s clients. Defendant appreciated and accepted

that benefit. Defendant profited from these transactions and used the Private

Information of Plaintiff and Class Members for business purposes.

      229. Upon information and belief, Defendant funds its data security

measures entirely from its general revenue, including payments on behalf of or

for the benefit of Plaintiff and some Class Members.

      230. As such, a portion of the payments made for the benefit of or on

behalf of Plaintiff and Class Members is to be used to provide a reasonable level

of data security, and the amount of the portion of each payment made that is

allocated to data security is known to Defendant.

      231. Defendant, however, failed to secure Plaintiff’s and Class Members’

Private Information and, therefore, did not provide adequate data security in

return for the benefit Plaintiff and Class Members provided.

      232. Defendant would not be able to carry out an essential function of its

regular business without the Private Information of Plaintiff and Class Members



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and derived revenue by using it for business purposes. Plaintiff and Class

Members expected that Defendant or anyone in Defendant’s position would use

a portion of that revenue to fund adequate data security practices.

      233. Defendant acquired the Private Information through inequitable

means in that it failed to disclose the inadequate security practices previously

alleged.

      234. If Plaintiff and Class Members knew that Defendant had not

reasonably secured their Private Information, they would not have provided their

Private Information to Defendant.

      235. Defendant enriched itself by saving the costs it reasonably should

have expended on data security measures to secure Plaintiff’s and Class

Members’ Personal Information. Instead of providing a reasonable level of

security that would have prevented the hacking incident, Defendant instead

calculated to increase its own profit at the expense of Plaintiff and Class Members

by utilizing cheaper, ineffective security measures and diverting those funds to

its own profit. Plaintiff and Class Members, on the other hand, suffered as a direct

and proximate result of Defendant’s decision to prioritize its own profits over the

requisite security and the safety of their Private Information.

      236. Under the principles of equity and good conscience, Defendant

should not be permitted to retain the money wrongfully obtained Plaintiff and



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Class Members, because Defendant failed to implement appropriate data

management and security measures that are mandated by industry standards.

      237. Plaintiff and Class Members have no adequate remedy at law.

      238. As a direct and proximate result of Defendant’s conduct, Plaintiff and

Class Members have suffered and will suffer injury, including but not limited to:

      239. As a direct and proximate result of Defendant’s conduct, Plaintiff and

Class Members have suffered and will continue to suffer other forms of injury

and/or harm.

      240. Defendant should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiff and Class Members, proceeds that

they unjustly received from them. In the alternative, Defendant should be

compelled to refund the amounts that Plaintiff and Class Members overpaid for

Defendant’s services.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests

judgment against Defendant and that the Court grants the following:

      A.    For an Order certifying this action as a class action and appointing

            Plaintiff and her counsel to represent the Class;

      B.    For equitable relief enjoining Defendant from engaging in the wrongful

            conduct complained of herein pertaining to the misuse and/or



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           disclosure ofPlaintiff’s and Class Members’ Private Information, and

           from refusing to issue prompt, complete and accurate disclosures to

           Plaintiff and Class Members;

      C.   For injunctive relief requested by Plaintiff, including, but not limited

           to, injunctive and other equitable relief as is necessary to protect the

           interests of Plaintiff and Class Members, including but not limited to

           an order:

              i.       prohibiting Defendant from engaging in the wrongful and

                       unlawful acts described herein;

              ii.      requiring Defendant to protect, including through

                       encryption, all data collected through the course of their

                       business in accordance with all applicable regulations,

                       industry standards, and federal, state or local laws;

              iii.     requiring Defendant to delete, destroy, and purge the personal

                       identifying information of Plaintiff and Class Members unless

                       Defendant can provide to the Court reasonable justification

                       for the retention and use of such information when weighed

                       against the privacy interests of Plaintiff and Class Members;

              iv.      requiring   Defendant    to   implement     and   maintain   a

                       comprehensive Information Security Program designed to



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                     protect the confidentiality and integrity of the Private

                     Information of Plaintiff and Class Members;

              v.     prohibiting   Defendant   from   maintaining    the   Private

                     Information of Plaintiff and Class Members on a cloud-based

                     database;

              vi.    requiring Defendant to engage independent third-party

                     security auditors/penetration testers as well as internal

                     security personnel to conduct testing, including simulated

                     attacks, penetration tests, and audits on Defendant’s systems

                     on a periodic basis, and ordering Defendant to promptly

                     correct any problems or issues detected by such third-party

                     security auditors;

              vii.   requiring Defendant to engage independent third-party

                     security auditors and internal personnel to run automated

                     security monitoring;

              viii. requiring Defendant to audit, test, and train their security

                     personnel regarding any new or modified procedures;

                     requiring Defendant to segment data by, among other things,

                     creating firewalls and access controls so that if one area of




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                     Defendant’s network is compromised, hackers cannot gain

                     access to other portions of Defendant’s systems;

              ix.    requiring Defendant to conduct regular database scanning and

                     securing checks;

              x.     requiring Defendant to establish an information security

                     training program that includes at least annual information

                     security training for all employees, with additional training to

                     be provided as appropriate based upon the employees’

                     respective responsibilities with handling personal identifying

                     information, as well as protecting the personal identifying

                     information of Plaintiff and Class Members;

              xi.    requiring Defendant to routinely and continually conduct

                     internal training and education, and on an annual basis to

                     inform internal security personnel how to identify and contain

                     a breach when it occurs and what to do in response to a

                     breach;

              xii.   requiring Defendant to implement a system of tests to assess

                     its respective employees’ knowledge of the education

                     programs discussed in the preceding subparagraphs, as well

                     as randomly and periodically testing employees’ compliance



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                     with Defendant’s policies, programs, and systems for

                     protecting personal identifying information;

              xiii. requiring Defendant to implement, maintain, regularly

                     review, and revise as necessary a threat management program

                     designed to appropriately monitor Defendant’s information

                     networks for threats, both internal and external, and assess

                     whether monitoring tools are appropriately configured,

                     tested, and updated;

              xiv.   requiring Defendant to meaningfully educate all Class

                     Members about the threats that they face as a result of the loss

                     of their confidential personal identifying information to third

                     parties, as well as the steps affected individuals must take to

                     protect themselves;

              xv.    requiring Defendant to implement logging and monitoring

                     programs sufficient to track traffic to and from Defendant’s

                     servers; and

              xvi.   for a period of 10 years, appointing a qualified and

                     independent third party assessor to conduct a SOC 2 Type 2

                     attestation on an annual basis to evaluate Defendant’s

                     compliance with the terms of the Court’s final judgment, to



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                      provide such report to the Court and to counsel for the class,

                      and to report any deficiencies with compliance of the Court’s

                      final judgment;

      D.    For an award of actual damages, compensatory damages, statutory

            damages, and nominal damages, in an amount to be determined, as

            allowable by         law;

      E.    For an award of punitive damages, as allowable by law;

      F.    For an award of attorneys’ fees and costs, and any other expenses,

            including expert witness fees;

      G.    Pre- and post-judgment interest on any amounts awarded; and

      H.    Such other and further relief as this court may deem just and proper.

                         DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial by jury on all triable issues.


Dated: January 3, 2024                  Respectfully submitted,

                                        /s/ Vicki J. Maniatis
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